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       +12033135623 Boca James   +19548643844   ?                Read   8/4/2016    8/4/2016
       (owner)                   Rob A.                                 10:44:54    10:45:12
       +19548643844 Rob A.       Trinidad                               AM(UTC-4)   AM(UTC-
       Trinidad Contact          Contact                                            4)
       +12033135623 Boca James   +19548643844   If u make        Read   8/4/2016    8/4/2016
       (owner)                   Rob A.         something like          10:45:07    10:45:12
       +19548643844 Rob A.       Trinidad       it                      AM(UTC-4)   AM(UTC-
       Trinidad Contact          Contact                                            4)
       +12033135623 Boca James   +19548643844   Letterhead       Read   8/4/2016    8/4/2016
       (owner)                   Rob A.         wise                    10:45:17    10:45:17
       +19548643844 Rob A.       Trinidad                               AM(UTC-4)   AM(UTC-
       Trinidad Contact          Contact                                            4)
       +12033135623 Boca James   +12033135623   I would have     Sent   8/4/2016
       (owner)                   Boca James     to fake it              10:45:21
       +19548643844 Rob A.                                              AM(UTC-4)
       Trinidad Contact
       +12033135623 Boca James   +19548643844   Yeh              Read   8/4/2016    8/4/2016
       (owner)                   Rob A.                                 10:45:26    10:45:26
       +19548643844 Rob A.       Trinidad                               AM(UTC-4)   AM(UTC-
       Trinidad Contact          Contact                                            4)
       +12033135623 Boca James   +12033135623   U see its        Sent   8/4/2016
       (owner)                   Boca James     stamped by              10:45:30
       +19548643844 Rob A.                      the fda                 AM(UTC-4)
       Trinidad Contact
       +12033135623 Boca James   +19548643844   It's doesn't     Read   8/4/2016    8/4/2016
       (owner)                   Rob A.         matter                  10:45:34    10:45:34
       +19548643844 Rob A.       Trinidad                               AM(UTC-4)   AM(UTC-
       Trinidad Contact          Contact                                            4)
       +12033135623 Boca James   +19548643844   Pj made that     Read   8/4/2016    8/4/2016
       (owner)                   Rob A.                                 10:45:42    10:45:42
       +19548643844 Rob A.       Trinidad                               AM(UTC-4)   AM(UTC-
       Trinidad Contact          Contact                                            4)
       +12033135623 Boca James   +19548643844   I thing          Read   8/4/2016    8/4/2016
       (owner)                   Rob A.                                 10:45:44    10:45:44
       +19548643844 Rob A.       Trinidad                               AM(UTC-4)   AM(UTC-
       Trinidad Contact          Contact                                            4)
       +12033135623 Boca James   +19548643844   Think            Read   8/4/2016    8/4/2016
       (owner)                   Rob A.                                 10:45:48    10:45:48
       +19548643844 Rob A.       Trinidad                               AM(UTC-4)   AM(UTC-
       Trinidad Contact          Contact                                            4)
       +12033135623 Boca James   +19548643844   Ask Trevor       Read   8/4/2016    8/4/2016
       (owner)                   Rob A.                                 10:45:59    10:46:04
       +19548643844 Rob A.       Trinidad                               AM(UTC-4)   AM(UTC-
       Trinidad Contact          Contact                                            4)
       +12033135623 Boca James   +12033135623   Does it need     Sent   8/4/2016
       (owner)                   Boca James     to be signed            10:51:49
       +19548643844 Rob A.                      by someone ?            AM(UTC-4)
       Trinidad Contact
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       +12033135623 Boca James   +19548643844   Yeh               Read   8/4/2016    8/4/2016
       (owner)                   Rob A.                                  10:52:12    10:52:13
       +19548643844 Rob A.       Trinidad                                AM(UTC-4)   AM(UTC-
       Trinidad Contact          Contact                                             4)
       +12033135623 Boca James   +19548643844   U lol             Read   8/4/2016    8/4/2016
       (owner)                   Rob A.                                  10:52:14    10:52:14
       +19548643844 Rob A.       Trinidad                                AM(UTC-4)   AM(UTC-
       Trinidad Contact          Contact                                             4)
       +12033135623 Boca James   +19548643844   Doesn't really    Read   8/4/2016    8/4/2016
       (owner)                   Rob A.         matter                   10:52:23    10:52:23
       +19548643844 Rob A.       Trinidad                                AM(UTC-4)   AM(UTC-
       Trinidad Contact          Contact                                             4)
       +12033135623 Boca James   +12033135623   Ok let me         Sent   8/4/2016
       (owner)                   Boca James     work this up             10:52:42
       +19548643844 Rob A.                                               AM(UTC-4)
       Trinidad Contact
       +12033135623 Boca James   +19548643844   K                 Read   8/4/2016    8/4/2016
       (owner)                   Rob A.                                  10:52:48    10:59:51
       +19548643844 Rob A.       Trinidad                                AM(UTC-4)   AM(UTC-
       Trinidad Contact          Contact                                             4)
       +12033135623 Boca James   +12033135623                     Sent   8/4/2016
       (owner)                   Boca James                              11:48:15
       +19548643844 Rob A.                                               AM(UTC-4)
       Trinidad Contact
       +12033135623 Boca James   +12033135623   Does this work    Sent   8/4/2016
       (owner)                   Boca James                              11:48:26
       +19548643844 Rob A.                                               AM(UTC-4)
       Trinidad Contact
       +12033135623 Boca James   +12033135623                     Sent   8/4/2016
       (owner)                   Boca James                              11:48:26
       +19548643844 Rob A.                                               AM(UTC-4)
       Trinidad Contact
       +12033135623 Boca James   +19548643844   Let's try         Read   8/4/2016    8/4/2016
       (owner)                   Rob A.                                  12:07:55    12:15:10
       +19548643844 Rob A.       Trinidad                                PM(UTC-4)   PM(UTC-
       Trinidad Contact          Contact                                             4)
       +12033135623 Boca James   +12033135623   This can get      Sent   8/4/2016
       (owner)                   Boca James     me in trouble I          12:15:25
       +19548643844 Rob A.                      am                       PM(UTC-4)
       Trinidad Contact                         impersonating
                                                the fda
       +12033135623 Boca James   +19548643844   Oh                Read   8/4/2016    8/4/2016
       (owner)                   Rob A.                                  12:15:49    12:17:11
       +19548643844 Rob A.       Trinidad                                PM(UTC-4)   PM(UTC-
       Trinidad Contact          Contact                                             4)
       +12033135623 Boca James   +12033135623   So no one         Sent   8/4/2016
       (owner)                   Boca James     else can see             12:17:40
       +19548643844 Rob A.                      this                     PM(UTC-4)
       Trinidad Contact
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       +12033135623 Boca James   +12033135623   Just your          Sent   8/4/2016
       (owner)                   Boca James     contact                   12:18:00
       +19548643844 Rob A.                                                PM(UTC-4)
       Trinidad Contact
       +12033135623 Boca James   +19548643844   Ok                 Read   8/4/2016    8/4/2016
       (owner)                   Rob A.                                   12:18:16    12:22:33
       +19548643844 Rob A.       Trinidad                                 PM(UTC-4)   PM(UTC-
       Trinidad Contact          Contact                                              4)
       +12033135623 Boca James   +12033135623   Ok                 Sent   8/4/2016
       (owner)                   Boca James                               12:22:55
       +19548643844 Rob A.                                                PM(UTC-4)
       Trinidad Contact
       +12033135623 Boca James   +12033135623   Let me know        Sent   8/4/2016
       (owner)                   Boca James     what else u               12:23:11
       +19548643844 Rob A.                      need from me              PM(UTC-4)
       Trinidad Contact
       +12033135623 Boca James   +19548643844   U emailed it?      Read   8/4/2016    8/4/2016
       (owner)                   Rob A.                                   12:23:47    12:23:55
       +19548643844 Rob A.       Trinidad                                 PM(UTC-4)   PM(UTC-
       Trinidad Contact          Contact                                              4)
       +12033135623 Boca James   +12033135623   Not yet            Sent   8/4/2016
       (owner)                   Boca James                               12:23:58
       +19548643844 Rob A.                                                PM(UTC-4)
       Trinidad Contact
       +12033135623 Boca James   +19548643844   K                  Read   8/4/2016    8/4/2016
       (owner)                   Rob A.                                   12:24:03    12:24:03
       +19548643844 Rob A.       Trinidad                                 PM(UTC-4)   PM(UTC-
       Trinidad Contact          Contact                                              4)
       +12033135623 Boca James   +12033135623   I'm goin to put    Sent   8/5/2016
       (owner)                   Boca James     u in contact              7:16:59
       +19548643844 Rob A.                      with chris n              AM(UTC-4)
       Trinidad Contact
       +12033135623 Boca James   +12033135623   Please do not      Sent   8/5/2016
       (owner)                   Boca James     show him the              7:17:13
       +19548643844 Rob A.                      fake certificate          AM(UTC-4)
       Trinidad Contact                         of free sale we
                                                made
       +12033135623 Boca James   +19548643844   Ok sure            Read   8/5/2016    8/5/2016
       (owner)                   Rob A.                                   7:24:26     7:36:51
       +19548643844 Rob A.       Trinidad                                 AM(UTC-4)   AM(UTC-
       Trinidad Contact          Contact                                              4)
       +12033135623 Boca James   +19548643844   No problem         Read   8/5/2016    8/5/2016
       (owner)                   Rob A.                                   7:24:31     7:36:51
       +19548643844 Rob A.       Trinidad                                 AM(UTC-4)   AM(UTC-
       Trinidad Contact          Contact                                              4)
       +12033135623 Boca James   +19548643844   U know I           Read   8/5/2016    8/5/2016
       (owner)                   Rob A.         spoke with him            7:24:58     7:36:51
       +19548643844 Rob A.       Trinidad       before right?             AM(UTC-4)   AM(UTC-
       Trinidad Contact          Contact                                              4)
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        +12033135623 Boca James   +19548643844   But he was         Read   8/5/2016    8/5/2016
        (owner)                   Rob A.         busy so trevor            7:25:31     7:36:51
        +19548643844 Rob A.       Trinidad       put me on to u            AM(UTC-4)   AM(UTC-
        Trinidad Contact          Contact                                              4)
        +12033135623 Boca James   +19548643844   Jus don't want     Read   8/5/2016    8/5/2016
        (owner)                   Rob A.         to butt heads             7:25:49     7:36:51
        +19548643844 Rob A.       Trinidad                                 AM(UTC-4)   AM(UTC-
        Trinidad Contact          Contact                                              4)
        +12033135623 Boca James   +12033135623   Ya I just don't    Sent   8/5/2016
        (owner)                   Boca James     know what                 7:37:15
        +19548643844 Rob A.                      else I can do             AM(UTC-4)
        Trinidad Contact                         wo the
                                                 paperwork
        +12033135623 Boca James   +19548643844   So he had the      Read   8/5/2016    8/5/2016
        (owner)                   Rob A.         paperwork?                7:37:40     7:47:03
        +19548643844 Rob A.       Trinidad                                 AM(UTC-4)   AM(UTC-
        Trinidad Contact          Contact                                              4)
        +12033135623 Boca James   +19548643844   Has                Read   8/5/2016    8/5/2016
        (owner)                   Rob A.                                   7:37:45     7:47:03
        +19548643844 Rob A.       Trinidad                                 AM(UTC-4)   AM(UTC-
        Trinidad Contact          Contact                                              4)
        +12033135623 Boca James   +12033135623   No                 Sent   8/5/2016
        (owner)                   Boca James                               7:47:05
        +19548643844 Rob A.                                                AM(UTC-4)
        Trinidad Contact
        +12033135623 Boca James   +12033135623   We don't have      Sent   8/5/2016
        (owner)                   Boca James     any of that               7:47:14
        +19548643844 Rob A.                      stuff yet                 AM(UTC-4)
        Trinidad Contact
        +12033135623 Boca James   +12033135623   We have been       Sent   8/5/2016
        (owner)                   Boca James     trying to get it          7:47:23
        +19548643844 Rob A.                      for a while               AM(UTC-4)
        Trinidad Contact                         now
        +12033135623 Boca James   +19548643844   So what will       Read   8/5/2016    8/5/2016
        (owner)                   Rob A.         be able to do             7:49:58     7:50:43
        +19548643844 Rob A.       Trinidad                                 AM(UTC-4)   AM(UTC-
        Trinidad Contact          Contact                                              4)
        +12033135623 Boca James   +19548643844   That u can't?      Read   8/5/2016    8/5/2016
        (owner)                   Rob A.                                   7:50:08     7:50:43
        +19548643844 Rob A.       Trinidad                                 AM(UTC-4)   AM(UTC-
        Trinidad Contact          Contact                                              4)
        +12033135623 Boca James   +19548643844   Seeing that u      Read   8/5/2016    8/5/2016
        (owner)                   Rob A.         guys don't                7:50:29     7:50:43
        +19548643844 Rob A.       Trinidad       have the                  AM(UTC-4)   AM(UTC-
        Trinidad Contact          Contact        paper work?                           4)
        +12033135623 Boca James   +12033135623   Nothing really     Sent   8/5/2016
        (owner)                   Boca James     lol                       7:50:51
        +19548643844 Rob A.                                                AM(UTC-4)
        Trinidad Contact
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        +12033135623 Boca James   +19548643844   He did say he       Read   8/5/2016    8/5/2016
        (owner)                   Rob A.         knows                      7:51:08     7:52:34
        +19548643844 Rob A.       Trinidad       about/has all              AM(UTC-4)   AM(UTC-
        Trinidad Contact          Contact        the necessary                          4)
                                                 paperwork
                                                 needed
        +12033135623 Boca James   +19548643844   You guys have       Read   8/5/2016    8/5/2016
        (owner)                   Rob A.         been selling to            7:51:52     7:52:34
        +19548643844 Rob A.       Trinidad       Trinidad                   AM(UTC-4)   AM(UTC-
        Trinidad Contact          Contact                                               4)
        +12033135623 Boca James   +19548643844   And you have        Read   8/5/2016    8/5/2016
        (owner)                   Rob A.         to have given              7:52:24     7:52:34
        +19548643844 Rob A.       Trinidad       this other guy             AM(UTC-4)   AM(UTC-
        Trinidad Contact          Contact        these                                  4)
                                                 certificates
        +12033135623 Boca James   +19548643844   He buys Alotta      Read   8/5/2016    8/5/2016
        (owner)                   Rob A.         of prime                   7:52:34     7:52:34
        +19548643844 Rob A.       Trinidad                                  AM(UTC-4)   AM(UTC-
        Trinidad Contact          Contact                                               4)
        +12033135623 Boca James   +19548643844   I jus don't         Read   8/5/2016    8/5/2016
        (owner)                   Rob A.         understand                 7:52:43     7:52:43
        +19548643844 Rob A.       Trinidad                                  AM(UTC-4)   AM(UTC-
        Trinidad Contact          Contact                                               4)
        +12033135623 Boca James   +12033135623   Prime has the       Sent   8/5/2016
        (owner)                   Boca James     paperwork                  7:52:49
        +19548643844 Rob A.                      done                       AM(UTC-4)
        Trinidad Contact
        +12033135623 Boca James   +19548643844   Well let's see if   Read   8/5/2016    8/5/2016
        (owner)                   Rob A.         we can use                 7:57:43     7:57:55
        +19548643844 Rob A.       Trinidad       that                       AM(UTC-4)   AM(UTC-
        Trinidad Contact          Contact                                               4)
        +12033135623 Boca James   +12033135623   Wouldn't work       Sent   8/5/2016
        (owner)                   Boca James                                7:58:05
        +19548643844 Rob A.                                                 AM(UTC-4)
        Trinidad Contact
        +12033135623 Boca James   +12033135623   Completely          Sent   8/5/2016
        (owner)                   Boca James     different                  7:58:11
        +19548643844 Rob A.                      company                    AM(UTC-4)
        Trinidad Contact
        +12033135623 Boca James   +19548643844   It's ok             Read   8/5/2016    8/5/2016
        (owner)                   Rob A.                                    7:58:23     7:58:35
        +19548643844 Rob A.       Trinidad                                  AM(UTC-4)   AM(UTC-
        Trinidad Contact          Contact                                               4)
        +12033135623 Boca James   +19548643844   Jus need the        Read   8/5/2016    8/5/2016
        (owner)                   Rob A.         letter head                7:58:31     7:58:35
        +19548643844 Rob A.       Trinidad                                  AM(UTC-4)   AM(UTC-
        Trinidad Contact          Contact                                               4)
        +12033135623 Boca James   +19548643844   And I will          Read   8/5/2016    8/5/2016
        (owner)                   Rob A.         change the                 7:58:41     7:58:42
        +19548643844 Rob A.       Trinidad       products                   AM(UTC-4)   AM(UTC-
        Trinidad Contact          Contact                                               4)
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        +12033135623 Boca James   +12033135623   Ok I'll get it to   Sent   8/5/2016
        (owner)                   Boca James     u Monday                   7:59:03
        +19548643844 Rob A.                                                 AM(UTC-4)
        Trinidad Contact
        +12033135623 Boca James   +12033135623   I'm leaving for     Sent   8/5/2016
        (owner)                   Boca James     a trip now                 7:59:12
        +19548643844 Rob A.                                                 AM(UTC-4)
        Trinidad Contact
        +12033135623 Boca James   +19548643844   Idk what else       Read   8/5/2016    8/5/2016
        (owner)                   Rob A.         to do                      7:59:18     7:59:18
        +19548643844 Rob A.       Trinidad                                  AM(UTC-4)   AM(UTC-
        Trinidad Contact          Contact                                               4)
        +12033135623 Boca James   +19548643844   No sale if they     Read   8/5/2016    8/5/2016
        (owner)                   Rob A.         can't get that             7:59:33     7:59:33
        +19548643844 Rob A.       Trinidad                                  AM(UTC-4)   AM(UTC-
        Trinidad Contact          Contact                                               4)
        +12033135623 Boca James   +19548643844   I wonder what       Read   8/5/2016    8/5/2016
        (owner)                   Rob A.         papers chris               8:00:13     8:00:13
        +19548643844 Rob A.       Trinidad       says he has or             AM(UTC-4)   AM(UTC-
        Trinidad Contact          Contact        knows about                            4)
                                                 then
        +12033135623 Boca James   +12033135623   I asked him         Sent   8/5/2016
        (owner)                   Boca James     yesterday                  8:00:32
        +19548643844 Rob A.                                                 AM(UTC-4)
        Trinidad Contact
        +12033135623 Boca James   +19548643844   Maybe he's          Read   8/5/2016    8/5/2016
        (owner)                   Rob A.         cockblocking u             8:00:47     8:02:01
        +19548643844 Rob A.       Trinidad                                  AM(UTC-4)   AM(UTC-
        Trinidad Contact          Contact                                               4)
        +12033135623 Boca James   +19548643844   And knows           Read   8/5/2016    8/5/2016
        (owner)                   Rob A.         exactly what               8:01:03     8:02:01
        +19548643844 Rob A.       Trinidad       we need                    AM(UTC-4)   AM(UTC-
        Trinidad Contact          Contact                                               4)
        +12033135623 Boca James   +19548643844   Seems like          Read   8/5/2016    8/5/2016
        (owner)                   Rob A.                                    8:01:08     8:02:01
        +19548643844 Rob A.       Trinidad                                  AM(UTC-4)   AM(UTC-
        Trinidad Contact          Contact                                               4)
        +12033135623 Boca James   +12033135623   I'll ask him        Sent   8/5/2016
        (owner)                   Boca James     again today                8:02:23
        +19548643844 Rob A.                                                 AM(UTC-4)
        Trinidad Contact
        +12033135623 Boca James   +19548643844   Hey                 Read   8/8/2016    8/8/2016
        (owner)                   Rob A.                                    9:33:00     9:33:57
        +19548643844 Rob A.       Trinidad                                  AM(UTC-4)   AM(UTC-
        Trinidad Contact          Contact                                               4)
        +12033135623 Boca James   +19548643844   So what's the       Read   8/8/2016    8/8/2016
        (owner)                   Rob A.         update...                  9:33:24     9:33:57
        +19548643844 Rob A.       Trinidad       Really need                AM(UTC-4)   AM(UTC-
        Trinidad Contact          Contact        these certs                            4)
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        +12033135623 Boca James   +12033135623   I won't be at    Sent   8/8/2016
        (owner)                   Boca James     work for                9:35:10
        +19548643844 Rob A.                      another few             AM(UTC-4)
        Trinidad Contact                         hours
        +12033135623 Boca James   +19548643844   I have another   Read   8/8/2016    8/8/2016
        (owner)                   Rob A.         $26k order              9:35:21     9:35:30
        +19548643844 Rob A.       Trinidad                               AM(UTC-4)   AM(UTC-
        Trinidad Contact          Contact                                            4)
        +12033135623 Boca James   +19548643844   This is not      Read   8/8/2016    8/8/2016
        (owner)                   Rob A.         good                    9:35:27     9:35:30
        +19548643844 Rob A.       Trinidad                               AM(UTC-4)   AM(UTC-
        Trinidad Contact          Contact                                            4)
        +12033135623 Boca James   +19548643844   😔😔               Read   8/8/2016    8/8/2016
        (owner)                   Rob A.                                 9:35:33     9:35:34
        +19548643844 Rob A.       Trinidad                               AM(UTC-4)   AM(UTC-
        Trinidad Contact          Contact                                            4)
        +12033135623 Boca James   +19548643844   I'm sellin       Read   8/8/2016    8/8/2016
        (owner)                   Rob A.         Dymatize                9:36:00     9:36:00
        +19548643844 Rob A.       Trinidad                               AM(UTC-4)   AM(UTC-
        Trinidad Contact          Contact                                            4)
        +12033135623 Boca James   +19548643844   They have all    Read   8/8/2016    8/8/2016
        (owner)                   Rob A.         the certs               9:36:11     9:36:12
        +19548643844 Rob A.       Trinidad                               AM(UTC-4)   AM(UTC-
        Trinidad Contact          Contact                                            4)
        +12033135623 Boca James   +12033135623   Of course        Sent   8/8/2016
        (owner)                   Boca James                             9:36:16
        +19548643844 Rob A.                                              AM(UTC-4)
        Trinidad Contact
        +12033135623 Boca James   +19548643844   And lipo6        Read   8/8/2016    8/8/2016
        (owner)                   Rob A.                                 9:36:17     9:36:18
        +19548643844 Rob A.       Trinidad                               AM(UTC-4)   AM(UTC-
        Trinidad Contact          Contact                                            4)
        +12033135623 Boca James   +12033135623   Those r          Sent   8/8/2016
        (owner)                   Boca James     monster                 9:36:29
        +19548643844 Rob A.                      companies               AM(UTC-4)
        Trinidad Contact
        +12033135623 Boca James   +19548643844   Blackstone too   Read   8/8/2016    8/8/2016
        (owner)                   Rob A.                                 9:36:37     9:36:38
        +19548643844 Rob A.       Trinidad                               AM(UTC-4)   AM(UTC-
        Trinidad Contact          Contact                                            4)
        +12033135623 Boca James   +12033135623   Blackstone is    Sent   8/8/2016
        (owner)                   Boca James     nothing                 9:36:54
        +19548643844 Rob A.                      compared to             AM(UTC-4)
        Trinidad Contact                         them
        +12033135623 Boca James   +12033135623   They are         Sent   8/8/2016
        (owner)                   Boca James     mainstream              9:37:01
        +19548643844 Rob A.                      companies               AM(UTC-4)
        Trinidad Contact
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        +12033135623 Boca James   +19548643844   Well we to get     Read   8/8/2016    8/8/2016
        (owner)                   Rob A.         there                     9:37:09     9:37:09
        +19548643844 Rob A.       Trinidad                                 AM(UTC-4)   AM(UTC-
        Trinidad Contact          Contact                                              4)
        +12033135623 Boca James   +19548643844   And fast           Read   8/8/2016    8/8/2016
        (owner)                   Rob A.                                   9:37:12     9:37:12
        +19548643844 Rob A.       Trinidad                                 AM(UTC-4)   AM(UTC-
        Trinidad Contact          Contact                                              4)
        +12033135623 Boca James   +12033135623   They prob          Sent   8/8/2016
        (owner)                   Boca James     have a staff              9:37:13
        +19548643844 Rob A.                      devoted to just           AM(UTC-4)
        Trinidad Contact                         paperwork
        +12033135623 Boca James   +19548643844   Ok                 Read   8/8/2016    8/8/2016
        (owner)                   Rob A.                                   9:37:27     9:40:01
        +19548643844 Rob A.       Trinidad                                 AM(UTC-4)   AM(UTC-
        Trinidad Contact          Contact                                              4)
        +12033135623 Boca James   +19548643844   Let me know        Read   8/8/2016    8/8/2016
        (owner)                   Rob A.                                   9:37:31     9:40:01
        +19548643844 Rob A.       Trinidad                                 AM(UTC-4)   AM(UTC-
        Trinidad Contact          Contact                                              4)
        +12033135623 Boca James   +19548643844   We gonna           Read   8/8/2016    8/8/2016
        (owner)                   Rob A.         loose out on              9:38:04     9:40:01
        +19548643844 Rob A.       Trinidad       this... It's              AM(UTC-4)   AM(UTC-
        Trinidad Contact          Contact        money in hand                         4)
        +12033135623 Boca James   +12033135623   It's just hard     Sent   8/8/2016
        (owner)                   Boca James     cause we don't            9:40:31
        +19548643844 Rob A.                      have those                AM(UTC-4)
        Trinidad Contact                         certificates yet
        +12033135623 Boca James   +19548643844   But it's nothing   Read   8/8/2016    8/8/2016
        (owner)                   Rob A.         to get                    9:40:57     9:42:36
        +19548643844 Rob A.       Trinidad                                 AM(UTC-4)   AM(UTC-
        Trinidad Contact          Contact                                              4)
        +12033135623 Boca James   +19548643844   I don't            Read   8/8/2016    8/8/2016
        (owner)                   Rob A.         understand                9:41:04     9:42:36
        +19548643844 Rob A.       Trinidad                                 AM(UTC-4)   AM(UTC-
        Trinidad Contact          Contact                                              4)
        +12033135623 Boca James   +19548643844   It takes 5 days    Read   8/8/2016    8/8/2016
        (owner)                   Rob A.                                   9:41:15     9:42:36
        +19548643844 Rob A.       Trinidad                                 AM(UTC-4)   AM(UTC-
        Trinidad Contact          Contact                                              4)
        +12033135623 Boca James   +19548643844   Cost $10 �         Read   8/8/2016    8/8/2016
        (owner)                   Rob A.                                   9:41:27     9:42:36
        +19548643844 Rob A.       Trinidad                                 AM(UTC-4)   AM(UTC-
        Trinidad Contact          Contact                                              4)
        +12033135623 Boca James   +12033135623   But u have to      Sent   8/8/2016
        (owner)                   Boca James     have                      9:42:54
        +19548643844 Rob A.                      compliant                 AM(UTC-4)
        Trinidad Contact                         labels
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        +12033135623 Boca James   +12033135623   Which we        Sent   8/8/2016
        (owner)                   Boca James     don't have             9:42:57
        +19548643844 Rob A.                                             AM(UTC-4)
        Trinidad Contact
        +12033135623 Boca James   +19548643844   So              Read   8/8/2016    8/8/2016
        (owner)                   Rob A.                                9:43:20     9:49:31
        +19548643844 Rob A.       Trinidad                              AM(UTC-4)   AM(UTC-
        Trinidad Contact          Contact                                           4)
        +12033135623 Boca James   +19548643844   Cancel this     Read   8/8/2016    8/8/2016
        (owner)                   Rob A.         then?                  9:43:28     9:49:31
        +19548643844 Rob A.       Trinidad                              AM(UTC-4)   AM(UTC-
        Trinidad Contact          Contact                                           4)
        +12033135623 Boca James   +12033135623   Might be the    Sent   8/8/2016
        (owner)                   Boca James     best bet               9:49:36
        +19548643844 Rob A.                                             AM(UTC-4)
        Trinidad Contact
        +12033135623 Boca James   +19548643844   Ok              Read   8/8/2016    8/8/2016
        (owner)                   Rob A.                                9:49:46     9:53:42
        +19548643844 Rob A.       Trinidad                              AM(UTC-4)   AM(UTC-
        Trinidad Contact          Contact                                           4)
        +12033135623 Boca James   +19548643844   Ty              Read   8/8/2016    8/8/2016
        (owner)                   Rob A.                                9:49:49     9:53:42
        +19548643844 Rob A.       Trinidad                              AM(UTC-4)   AM(UTC-
        Trinidad Contact          Contact                                           4)
        +12033135623 Boca James   +12033135623   What I sent u   Sent   8/8/2016
        (owner)                   Boca James     was he best            11:22:24
        +19548643844 Rob A.                      we can do              AM(UTC-4)
        Trinidad Contact
        +12033135623 Boca James   +12033135623   Any other       Sent   8/8/2016
        (owner)                   Boca James     ideas ?                11:39:34
        +19548643844 Rob A.                                             AM(UTC-4)
        Trinidad Contact
        +12033135623 Boca James   +19548643844   Going into      Read   8/8/2016    8/8/2016
        (owner)                   Rob A.         meeting now            3:38:16     3:38:38
        +19548643844 Rob A.       Trinidad                              PM(UTC-4)   PM(UTC-
        Trinidad Contact          Contact                                           4)
        +12033135623 Boca James   +19548643844   Maybe resend    Read   8/8/2016    8/8/2016
        (owner)                   Rob A.         me those               3:38:34     3:38:38
        +19548643844 Rob A.       Trinidad       papers again           PM(UTC-4)   PM(UTC-
        Trinidad Contact          Contact                                           4)
        +12033135623 Boca James   +12033135623   Ok              Sent   8/8/2016
        (owner)                   Boca James                            3:38:39
        +19548643844 Rob A.                                             PM(UTC-4)
        Trinidad Contact
        +12033135623 Boca James   +19548643844   We talk         Read   8/8/2016    8/8/2016
        (owner)                   Rob A.         tomorrow               3:38:40     3:38:40
        +19548643844 Rob A.       Trinidad                              PM(UTC-4)   PM(UTC-
        Trinidad Contact          Contact                                           4)
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        +12033135623 Boca James   +12033135623   Ok                  Sent   8/8/2016
        (owner)                   Boca James                                4:02:00
        +19548643844 Rob A.                                                 PM(UTC-4)
        Trinidad Contact
        +12033135623 Boca James   +19548643844   Hey                 Read   8/9/2016    8/9/2016
        (owner)                   Rob A.                                    9:06:30     9:06:42
        +19548643844 Rob A.       Trinidad                                  AM(UTC-4)   AM(UTC-
        Trinidad Contact          Contact                                               4)
        +12033135623 Boca James   +12033135623   Hi                  Sent   8/9/2016
        (owner)                   Boca James                                9:06:46
        +19548643844 Rob A.                                                 AM(UTC-4)
        Trinidad Contact
        +12033135623 Boca James   +19548643844   I received your     Read   8/9/2016    8/9/2016
        (owner)                   Rob A.         last email                 9:06:52     9:06:58
        +19548643844 Rob A.       Trinidad                                  AM(UTC-4)   AM(UTC-
        Trinidad Contact          Contact                                               4)
        +12033135623 Boca James   +19548643844   No                  Read   8/9/2016    8/9/2016
        (owner)                   Rob A.         attachments                9:07:02     9:09:03
        +19548643844 Rob A.       Trinidad       doh                        AM(UTC-4)   AM(UTC-
        Trinidad Contact          Contact                                               4)
        +12033135623 Boca James   +19548643844                       Read   8/9/2016    8/9/2016
        (owner)                   Rob A.                                    9:07:18     9:09:03
        +19548643844 Rob A.       Trinidad                                  AM(UTC-4)   AM(UTC-
        Trinidad Contact          Contact                                               4)
        +12033135623 Boca James   +19548643844   This is what        Read   8/9/2016    8/9/2016
        (owner)                   Rob A.         Trevor found               9:07:18     9:09:03
        +19548643844 Rob A.       Trinidad                                  AM(UTC-4)   AM(UTC-
        Trinidad Contact          Contact                                               4)
        +12033135623 Boca James   +19548643844   Is there more       Read   8/9/2016    8/9/2016
        (owner)                   Rob A.         like this for the          9:07:39     9:09:03
        +19548643844 Rob A.       Trinidad       rest of the                AM(UTC-4)   AM(UTC-
        Trinidad Contact          Contact        items on the                           4)
                                                 order?
        +12033135623 Boca James   +12033135623   No                  Sent   8/9/2016
        (owner)                   Boca James                                9:09:10
        +19548643844 Rob A.                                                 AM(UTC-4)
        Trinidad Contact
        +12033135623 Boca James   +12033135623   That's only 4       Sent   8/9/2016
        (owner)                   Boca James     protein                    9:09:28
        +19548643844 Rob A.                                                 AM(UTC-4)
        Trinidad Contact
        +12033135623 Boca James   +19548643844   Oh                  Read   8/9/2016    8/9/2016
        (owner)                   Rob A.                                    9:09:31     9:09:31
        +19548643844 Rob A.       Trinidad                                  AM(UTC-4)   AM(UTC-
        Trinidad Contact          Contact                                               4)
        +12033135623 Boca James   +19548643844   So no analysis      Read   8/9/2016    8/9/2016
        (owner)                   Rob A.         or any of the              9:10:00     9:10:45
        +19548643844 Rob A.       Trinidad       other                      AM(UTC-4)   AM(UTC-
        Trinidad Contact          Contact        products?                              4)
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        +12033135623 Boca James   +19548643844   Or anything   Read   8/9/2016    8/9/2016
        (owner)                   Rob A.         along these          9:10:17     9:10:45
        +19548643844 Rob A.       Trinidad       lines?               AM(UTC-4)   AM(UTC-
        Trinidad Contact          Contact                                         4)
        +12033135623 Boca James   +12033135623   No            Sent   8/9/2016
        (owner)                   Boca James                          9:10:50
        +19548643844 Rob A.                                           AM(UTC-4)
        Trinidad Contact
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   Name convention: S1RAC1D1

   Site 1, Room A, Computer 1, Drive 1. This applies for all items such as USB, Server, Mobile items.
   Please specify a brief description on the case description of the TD2 log. Examples, John Smith, sales
   director or External hard drive found in drawer or USB thumb drive found in room A.

   TD2/TD2U settings:

   System Options:

       •   Start Up: File

       •   Examiner Name: SA [Last name]. Be sure to enter your name.

       •   Date and Time: EST

   Imaging Options:

       •   ImagType: Encase E01

       •   File Size: 4GB

       •   Dir Prompt: Yes

       •   Dir Name: S/N (this is important and will avoid typos of naming the same image name from
           previous)

       •   File Prompt: Yes (This is where you name the image name – S1RAC1D1 Etc)

       •   Case ID: Case number, Name, Site number

       •   Case Note: Brief description Examples, John Smith, sales director, External hard drive found in
           drawer or USB thumb drive found in room A.

       •   Err Recov: Fast

       •   Err Limit: One

       •   Verify Hash: Off

   Visual verification: Once completed, attach destination drive (agency drive) to a write blocker (if
   possible) and use FTK imager to open image to see folder or directory structure. This will help us
   quickly determine if we got a good / viewable image (not encrypted). No need for hash verification.
   Note, I have heard that newer versions of FTK Imager had problems opening of E01 files. To avoid this,
   use FTK Lite or an older version of FTK Imager to open image.
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